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Yepaxtment of Jnanrance
APRIL 6, 2005

VIA CERTIFIED MAIL (70041160000647818429)
RETURN RE§§EIPT REQUESTED

STONEBRIDGE LIFE INSURANCE COM'PANY
29 SOUTH MA[N STREET
RUTLA.ND, VT 05702

RE:__ EsTATE or THELMA J. MARR AND- ELLIs 1:). MARR As

ADMINISTRAToR oF THE EsTATE oF THELMA J. MARR AN;o

INDWH)UALLY Vs sToNEBRmeE LIFE INsURANcE coMPANY
sUPERIoR coURT on No. osc-os-oer-JTV

Dear SIR OR MADAM:

Pursuant to 18 1311 Q. § 525, the Delaware Insurance Commiseioner was
served with the enclosed legal process on APRIL 5, 2005.

Please do not send your response to the enclosed documentation
to the Delaware Insurance Department. Instead, you should
respond directly to the person or legal representative identified
in the enclosed legal process.

S'mcerely,

Donna M. Wysopa_l _"""'. _"'*'
Administrative Speeia]ist III - ` ` "
Enclosure - 5 l _
cc: NIOHOLAS RODRIQUEZ, ESQ. " 1 ' " 51

 

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